Form clkcert

111 First Street
Bay City, MI 48708


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan

                                                Case No.: 20−20759−dob
                                                      Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Dome Corporation of North America
   dba Enviro−Tech Structures Corporation
   5450 East Street
   Saginaw, MI 48601
Social Security No.:

Employer's Tax I.D. No.:
  16−1224042

                                  CLERK'S CERTIFICATION OF THE RECORD



I hereby certify that as of this date and to the best of my knowledge:

         (1) The documents listed on the docket sheet are in the case file in the custody of the Clerk.

         (2) The claims register lists the claims filed with Court.

         (3) The docket sheet and claims register are available for review through PACER.

         (4) The following Court costs are due and owing:

                 a) Reopening fee $ 0.00

                 b) Conversion fee $ 0.00
                 c) Filing fee $ 0.00

                 d) No Complaint(s) for a total of $ 0.00

                 e) No Appeal(s) for a total of $ 0.00

                 f) No Motion(s) to Sell Property Free and Clear of Liens Under 11 U.S.C. § 363(f)
                 for a total of $ 0.00



Dated: 5/11/22

                                                              BY THE COURT



                                                              Todd M. Stickle , Clerk of Court
                                                              UNITED STATES BANKRUPTCY COURT


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